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AO 91 (Rev. 11/11) Criminal Complaint


                                     UNITED STATES DISTRICT COURT
                                                               for the
                                                       District of Maryland

                  United States of America                        )
                             v.                                   )
                                                                  )      Case No. 1:20-mj-3132 TMD
               DESMOND BABLOO SINGH                               )
                                                                  )
                                                                  )
                                                                  )
                          Defendant(s)


                                               CRIMINAL COMPLAINT
         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                                               in the county of                               in the
                       District of          Maryland          , the defendant(s) violated:

            Code Section                                                    Offense Description
18 U.S.C. §§ 2261A(2); 1030(a)(5)             Cyberstalking (4/18/2020-11/24/2020); Intentional Damage to a
(A); 1028A; 1038(a)(1); 1958                  Protected Computer (7/19/2020 & 11/24/2020); Aggravated Identity Theft
                                              (7/19/2020 & 11/24/2020); False Information and Hoaxes (7/20/2020);
                                              Murder for Hire (10/10/2020)




         This criminal complaint is based on these facts:
See affidavit.




         ✔ Continued on the attached sheet.
         u


                                                                                              Complainant’s signature

                                                                                            SA William B. Jones, HSI
                                                                                               Printed name and title

6ZRUQ WR EHIRUH PH RYHU WKH WHOHSKRQH DQG VLJQHG E\ PH SXUVXDQW WR )HG 5 &ULP 3  DQG  G 


Date:
                                                                                                 Judge’s signature

City and state:                      Baltimore, Maryland                          Hon. Thomas M. DiGirolamo, U.S.M.J.
                                                                                               Printed name and title
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                  AFFIDAVIT IN SUPPORT OF CRMINAL COMPLAINT
                             and SEARCH WARRANTS

       Your affiant, William Jones, a Special Agent with Homeland Security, Homeland

Security Investigations having been duly sworn, deposes and states as follows:

       1.       Your affiant is a Special Agent (SA) with the U. S. Department of Homeland

Security, Homeland Security Investigations (HSI), and has been so since March 2019. Your affiant

is currently assigned to the Transnational Cyber Crimes Team (TCCT) investigating unlawful acts

and violations of federal law with a nexus to the surface web, deep web, or the dark web.

Previously, your affiant was assigned to the Document and Benefit Fraud Task Force (DBFTF),

investigating unlawful acts and violations of federal immigration and customs law, specifically the

investigation and enforcement of the Immigration and Nationality Act, relating to identity and

immigration benefit fraud. Your affiant is a graduate of the Criminal Investigator Training

Program (CITP) and the HSI Special Agent Training (HSISAT) program located at the Federal

Law Enforcement Training Center (FLETC). Prior to becoming a Special Agent, your affiant was

employed for four years at the National Security Agency (NSA) as a uniformed police officer.

During your affiant’s employment at the NSA, your affiant was assigned to the Emergency

Response Team (ERT) and the Weapons of Mass Destruction (WMD) Response Team. Your

affiant has also functioned as a Paramedic for over 20 years in both the civilian and military arenas.

Your affiant graduated with a Bachelor of Science in Biology in 2001.

       2.       As a federal agent, your Affiant is authorized to investigate violations of laws of

the United States and am a law enforcement officer with the authority to execute warrants issued

under the authority of the United States.

       3.       While employed as a Special Agent, your Affiant has participated, assisted, and led

investigations. In the course of those investigations, your Affiant has conducted surveillance,



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executed searches, questioned witnesses, utilized search and arrest warrants, and gathered

intelligence through various other means. Your Affiant is familiar with the immigration, customs,

and other federal statutes such as, but not limited to, violations of Title 18 of the United States

Code. As an HSI Special Agent, your Affiant is charged, among other things, enforcing the

immigration, customs, and other federal statues such as, but not limited to the Target Offenses

described below.

                                 PERSON TO BE ARRESTED

       4.       Your Affiant is submitting this affidavit in support of a criminal complaint and

arrest warrant for DESMOND BABLOO SINGH (“SINGH”), born June 2001, for violations of

18 U.S.C. §§ 2261A(2) (Cyberstalking), 1030(a)(5)(A) (Intentional Damage to a Protected

Computer), 1028A (Aggravated Identity Theft), 1038(a)(1) (False Information and Hoaxes) and

1958 (Murder for Hire) (the TARGET OFFESNES). These statutes are further described below.

                                ACCOUNTS TO BE SEARCHED

       5.       This Affidavit is also submitted in support of applications for search warrants,

pursuant to 18 U.S.C. § 2261A(2)(B) to search the contents of the following electronic accounts:

             a. Instagram Accounts: Records and information associated with the following

                Instagram accounts associated with the 69 Instagram account identifiers, described

                in Attachment A1, stored at premises owned, maintained, controlled, or operated

                by Facebook, Inc., a business headquartered at 1601 Willow Road, Menlo Park, CA

                94025. Information specific to these accounts can be found in the table set forth in

                paragraph 37.

             b. Tiktok Accounts: Records and information associated with the following Tiktok

                accounts, described in Attachment A2, stored at premises owned, maintained,




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    controlled or operated by ByteDance, a business with offices located at 10010

    Venice Blvd #301, Culver City, CA 90232:

         i.                 Information specific to this account can be found in

              paragraphs 40-41, below; and,

       ii.                 Information specific to this account can be found in

              paragraph 61, below;

 c. Google Accounts: Records and information associated with the following Google

    accounts, described in Attachment A3, stored at premises owned, maintained,

    controlled or operated by Google LLC, a business with offices located at 1600

    Amphitheatre Parkway, Mountain View, California, 94043

         i.                              Information specific to this account can be

              found in paragraph 47, below;

       ii.                                      Information specific to this account can be

              found in paragraphs 47 and 63, below;

       iii.                                     Information specific to this account can be

              found in paragraph 59, below;

       iv.                                    Information specific to this account can be

              found in paragraphs 48-49 and 55-56, below; and,

        v.                                Information specific to this account can be

              found in paragraphs 58-59, below;

 d. Snapchat Accounts: Records and information associated with the Snapchat

    accounts listed below, described in Attachment A4, which are stored at premises




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    owned, maintained, controlled by Snap, Inc., a business headquartered at 2772

    Donald Douglas Loop North, Santa Monica CA, 90405.

         i.                 Information specific to this account can be found in

              paragraph 63, below;

       ii.                 Information specific to this account can be found in

              paragraph 63, below;

       iii.                     Information specific to this account can be found in

              paragraph 63, below; and,

       iv.                    Information specific to this account can be found in

              paragraph 63, below;

 e. TextNow Account: Information and records stored at premises controlled by

    TextNow, Inc. a with offices located at 1 Sutter Street, Suite 800, San Francisco,

    CA, 94104, United States, relating to the account assigned                 registered

    on July 21, 2020, with associated emai                                 , described in

    Attachment A5. Information specific to this account can be found in paragraphs 54-

    55, below;

 f. Apple Accounts: Records and information stored at premises owned, maintained,

    controlled, or operated by Apple, Inc., a business headquartered at 1 Infinite Loop,

    Cupertino, CA 95014, and associated with the following Apple accounts, described

    in Attachment A6:

         i.

              Information specific to this account can be found in paragraph 30, below;

              and,




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                   ii.

                         Information specific to this account can be found in paragraph 30, below;

             g. AT&T Wireless Account: Records and location information stored at premises

                owned, maintained, controlled, or operated by AT&T Corporation, a wireless

                telephone service provider headquartered at 11760 U.S. Highway 1, North Palm

                Beach, FL 33408, and associated with the cellular telephone assigned call number

                                 with International Mobile Subscriber Identity / Electronic Serial

                Number                       with listed subscriber(s) “BAB LOO” (the “TARGET

                PHONE”) described in Attachment A7. Information specific to this account can

                be found in paragraphs 29-30, 38, 47, 49, 59, and 61, below;

collectively, the TARGET ACCOUNTS.

       6.       Because the warrant for location information relating to the TARGET PHONE

seeks the prospective collection of information, including cell-site location information, that may

fall within the statutory definitions of information collected by a “pen register” and/or “trap and

trace device,” see 18 U.S.C. § 3127(3) & (4), the requested warrant is designed to also comply

with the Pen Register Act. See 18 U.S.C. §§ 3121-3127. The requested warrant therefore includes

all the information required to be included in an order pursuant to that statute.

See 18 U.S.C. § 3123(b)(1).

       7.       As set forth below, there is probable cause to believe that a search of the TARGET

ACCOUNTS may uncover the evidence, fruits, and/or instrumentalities of violations of the

TARGET OFFENSES.

       8.       Your Affiant has personally participated in this investigation and has witnessed

many of the facts and circumstances described herein. Your Affiant has also received information




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from other federal and local law enforcement and intelligence officials relating to this

investigation. The information set forth in this affidavit is based on your Affiants observations and

review of documents, or reliable information provided to your Affiant by other law enforcement

personnel. Your Affiant is setting forth only those facts and circumstances necessary to establish

probable cause for the issuance of the requested search warrants. However, your Affiant has not

omitted any fact which might tend to defeat a finding of probable cause. Unless otherwise

indicated, all written and oral statements referred to herein are set forth in substance and in part,

rather than verbatim.

                                    THE TARGET OFFENSES

        9.       Cyberstalking (18 U.S.C. § 2261A(2)): “Whoever . . . with the intent to kill, injure,

harass, intimidate, or place under surveillance with intent to kill, injure, harass, or intimidate, uses

. . . any interactive computer service or electronic communication service or electronic

communication system of interstate commerce, or any other facility of interstate or foreign

commerce to engage in a course of conduct that . . . places that person in reasonable fear of the

death of or serious bodily injury to a person . . . or, causes, attempts to cause, or would be

reasonably expected to cause substantial emotional distress to a person . . . shall be punished . . . ”

with a fine or imprisonment for not more than five years.

        10.      Intentional Damage to a Protected Computer (18 U.S.C. §§ 1030(a)(5)(A))

“Whoever . . . knowingly causes the transmission of a program, information, code, or command,

and as a result of such conduct, intentionally causes damage without authorization to a protected

computer. . . shall be punished” with a fine or imprisonment for not more than ten years, or both.

        11.      Aggravated Identity Theft (18 U.S.C. § 1028A(a)(1)): “Whoever, during and in

relation to any felony violation enumerated in subsection (c) [including 18 U.S.C. § 1030],




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knowingly transfers, possesses, or uses, without lawful authority, a means of identification of

another person shall, in addition to the punishment provided for such felony, be sentenced to a

term of imprisonment of 2 years,” to be served consecutive to any other sentence.

        12.     False Information and Hoaxes (18 U.S.C. § 1038(a)(1)): “Whoever engages in

any conduct with intent to convey false or misleading information under circumstances where such

information may reasonably be believed and where such information indicates that an activity has

taken, is taking, or will take place that would constitute a violation of . . . [inter alia,

18 U.S.C. § 844(i), Malicious Destruction of Property by Explosives], shall—be fined under this

title or imprisoned not more than 5 years, or both . . . .”

        13.     Murder for Hire (18 U.S.C. § 1958): “Whoever . . . uses or causes another

(including the intended victim) to use the mail or any facility of interstate or foreign commerce,

with intent that a murder be committed in violation of the laws of any State or the United States as

consideration for the receipt of, or as consideration for a promise or agreement to pay, anything of

pecuniary value, or who conspires to do so, shall be fined under this title or imprisoned for not

more than ten years, or both . . . .”

                                        TERMS/DEFINITIONS

                                            SWATTING

        14.     “Swatting” refers to a criminal harassment tactic whereby a person places a false

call to emergency services such as a bomb threat or hostage situation to trigger a police force

and/or a special weapons and tactics (“SWAT”) team response to a specific address—thereby

causing a life-threatening situation.




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                                          INSTAGRAM

          15.   Instagram, frequently referred to as “IG” or “Insta,” is a photo and video sharing

social networking service owned by Facebook, Inc. The application (app) allows users to upload

media that can be edited with filters and organized by hashtags and geographical tagging. Posts

can be shared publicly or with pre-approved followers. Users can browse other users’ content by

tags and locations and view trending content. Instagram also allows users to send direct messages

(DMs) to other users.

                                          SNAPCHAT

          16.   Snapchat is a multimedia messaging app developed by Snap, Inc. One of the

principal features of Snapchat is when users post pictures and messages, they are usually only

available for a short time before they become inaccessible to their recipients. The app has evolved

from originally focusing on person-to-person photo sharing to presently featuring users’ “Stories”

of 24 hours of chronological content. Snapchat also allows users to keep photos in a “my eyes

only” space, which lets them keep their photos in a password-protected space. Snapchat has also

reportedly incorporated limited use of end-to-end encryption, with plans to broaden its use in the

future.

                                            TIKTOK

          17.   TikTok is a video-sharing social networking service owned by ByteDance. It is

used to create short music, lip-sync, dance, comedy, and talent videos of 3 to 15 seconds, and short

looping videos of 3 to 60 seconds. Videos can be shared or stored publicly or privately. The TikTok

app allows users to interact with each other through comments to videos, direct messages, and live

chats.




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                                            GOOGLE

       18.     Google provides numerous free services to users with a Google account. Some of

these services include, Gmail, YouTube, Voice, Blogger, Google+, Android, Photos, Drive,

Location History, and Search and Browsing History. Gmail is a web-based email service. YouTube

is a free video sharing website that allows users upload, view and share videos. Voice is Google’s

calling, voicemail transcription, and text messaging service. Blogger is Google’s free weblog

publishing tool for sharing text, photos, and video. Google+ is a forum to share photos, videos,

and other information with other users. Android is Google’s open source operating system used

for mobile devices. Photos stores images for a broad range of Google products. Drive is Google’s

online storage service for a wide range of file types.

                                           TEXTNOW

       19.     TextNow is an application which provides free telephone and texting service via

WiFi that can be utilized via phone, tablet or computer. When users activate a TextNow account

they are provided a telephone number that allows for phone calls, free texting, access to a voicemail

account, group texting, and conference calling. In my training, knowledge, and experience,

TextNow retains the content of text messages sent or received by its users.

                                          APPLE ACCOUNTS

       20.     Apple Inc. (“Apple”) is an American multinational corporation that designs,

develops, and sells consumer electronics, computer software and personal computers, including

the iPhone, a “smart phone” with the capability to function as a telephone, image and video

recording device, and includes many, if not all of, the capabilities of a desktop computer.

       21.     Apple, Inc., provides users with the ability to store files, photographs, and

messages, on a drive that is housed on data servers not located on the users device. The user can




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capture the data on their computer or mobile device, then upload or sync the data to servers owned

and operated by Apple, Inc. Once the data is uploaded or synched the user can remove the data

from their computer or mobile device, but still be able to access data from any computer by logging

onto their iCloud account. Apple, Inc., provides users with 5GB of free space upon signing up for

iCloud services; however, the user can upgrade to as many as multiple terabytes of storage space

for a monthly fee. Apple also provides its users with email addresses at the domains @icloud.com,

@mac.com and @me.com.

       22.     “iMessage” is an Apple propriety messaging platform which allows users of Apple

devices to share text, image and video communications. Using the Messages application on any

Apple device that uses Apple iOS, such as an iPhone, or Mac OS X, a user can send an iMessage

to any other iOS or Mac OS X device. Further, iMessages sent from one Apple device can appear

on all other Apple devices that are associated with the same Apple ID, and have activated the

Messages application on that device. An iMessage is sent and received based on an Apple ID, but

can also be sent based on the user’s telephone number, if a telephone number is associated with

that device. If an iMessage is sent, the message uses an Internet data connection, whether that

connection is provided by the mobile telephone service provider or a Wi-Fi hotspot. If a data

connection is not available to the Apple device, or the Apple device is sending a message to a non-

Apple device, the Messages application will default to traditional SMS if possible for delivery of

the message.

                                      DOXING/DOXBIN

       23.     Doxing, or document tracing, is the malicious targeting of an individual or

organization by publicly broadcasting the individual or organization’s personally identifiable

information (PII). Doxing is used to perpetrate harassment or violence against a target.




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         24.    Doxbin is a document sharing and publishing website for text-based information

where users are invited to publish personally identifiable information or “dox” of any person of

interest.

                                       PROBABLE CAUSE

                                           Background1

         25.    Desmond Babloo SINGH, born June 2001, is believed to currently reside in or

around Queens, New York. As a child, SINGH was a resident of Maryland, before relocating to

Texas.

         26.    The individual referred to in this affidavit as “Jane Doe” resides with her family in

Maryland when she is not attending college in New York. In approximately 2013-2014, when Jane

Doe was a middle school student, she was a friend of SINGH’s older sister during one school year.

At the end of the school year, SINGH’s family relocated to Texas. Jane Doe was not close friends

with SINGH’s sister, and they did not stay in touch after the SINGH family moved.

         27.    Jane Doe has never met SINGH in person, and has never been in any sort of

relationship with SINGH. Jane Doe only knows SINGH as the younger brother of an old friend

from middle school.

         28.    Around the time the SINGH family moved to Texas, SINGH sent Jane Doe requests

to follow her on multiple social media platforms, and Jane Doe granted the requests. Between 2014

and February 14, 2020, Jane Doe engaged in only a handful of brief messaging conversations with




1
  Much of the information set forth herein was obtained from the victim, including through
interviews with state and federal law enforcement officers. Her statements are corroborated by the
many messages and other communications she provided to investigators, and through a review of
the publicly available websites and social media accounts that were still active and able to be
reviewed by investigators.

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SINGH. She stated that she occasionally received strange and sometimes offensive messages from

SINGH. Jane Doe ignored most of SINGH’s messages.

        29.    In approximately November 2019, Jane Doe exchanged messages with SINGH

about living in New York. These included Apple iMessages, screenshots of which Jane Doe has

provided to investigators, between SINGH and Jane Doe, with SINGH using the phone number



        30.    According to information provided by AT&T,                 is assigned to “BAB

LOO” at the Texas address known to belong to SINGH’s parents. The number is assigned to a

device with the associated                       . According to information provided by Apple,

that device is an Apple iPhone 11, purchased April 27, 2020. The device is associated with two

Apple accounts,                                                                               and

                                                                       The iTunes subscriber

listed with each account is “Desmond Singh.”

        31.    On February 14, 2020, SINGH sent an Instagram story to Jane Doe from his

account with the username           consisting of text and an image of a necklace. The message

read:

               I GOT YOU THIS VIVIENNE WESTOOD NECKLACE AND
               KISSER THE GIRAFFE [IT’S STILL ON ITS WAY] AND I GO
               TO LIM [I ONLY APPLIED THERE AND FIT] BUT IM TAKING
               THE SEMESTER OFF BECAUSE I REALLY AM WORKING
               FOR FEDEX AND CBA WITH SCHOOL RIGHT NOW
               BECAUSE I GENUINELY DESPISE EVERYONE THERE AND
               I DIDN’T GET INTO FIT PROBABLY BECAUSE MY FALL
               GRADES WERE STILL PROCESSING AND THEY WERE
               MOST LIKELY STILL LOOKING AT MY HIGH SCHOOL
               GRADES BUT I HAD A 3.1 AND MY ESSAY WAS REALLY
               GOOD SO IDK BUT I’M APPLYING AGAIN FOR
               SOPHOMORE YEAR AND I’M STAYING WITH ONE OF MY
               FRIENDS IN LI UNTIL I GET AN APT IN MANHATTAN
               WHICH SHOULD BE IN LIKE A COUPLE WEEKS OR SO I’M



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              FLYING BACK TO AUSTIN TODAY AND COMING BACK ON
              WEDNESDAY I COULD LITERALLY COME TO
              MANHATTAN EVERY DAY WHENEVER YOU WANT ME TO
              I DON’T CARE IF IT’S 5AM AND YOU WANT TO SEE ME
              FOR ABSOLUTELY NO REASON IT WOULD TAKE ME AN
              HOUR AT THE MOST BUT ANYWAYS I LOVE YOU. DID
              YOU SEE THE PARAGRAGH IF NOT HERE IS THE LINK
              AGAIN, [link to privatebin.net webpage] I LOVE YOU SO MUCH
              THERE IS LITERALLY NOTHING I CAN SAY TO TRULY
              EMPHASIZE IT. I DON’T WANT TO DOUBLE TEXT YOU I
              HONESTLY DON’T KNOW WHAT’S GOING ON AND I’M
              REALLY SCARED AND CONFUSED AND HAVE BEEN FOR
              THE PAST 6 MONTHS.

              I REMOVED EVERYONE FROM MY CLOSE FRIENDS
              EXCEPT YOU ONLY YOU CAN SEE THIS.

       32.    The story linked to a paragraph posted on privatebin.net, a text-sharing website. In

the text, SINGH further professed his love for Jane Doe:




       33.    Jane Doe rejected SINGH’s romantic advances, stating that she was not interested

in a relationship with him. Jane Doe asked SINGH not to contact her any further.




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                            SINGH Harasses and Threatens Jane Doe

        34.     As set forth in detail below, beginning on approximately April 18, 2020, and

continuing through at least November 24, 2020, SINGH has used more than one hundred different

social media, electronic communication, and phone accounts to send Jane Doe harassing and

unsolicited messages.

        35.     These messages include express and implied threats of death and bodily injury,

sexualized violence, and racial slurs. SINGH has accessed several of Jane Doe’s electronic

accounts without authorization, changing her passwords to lock her out of her accounts and posting

offensive images and statements to her accounts without authorization. SINGH obtained personal

images that had been privately stored in Jane Doe’s Snapchat account. These images were later

posted on social media accounts used to harass Jane Doe, and sent via text message to Jane Doe

and her family members.

        36.     SINGH has “doxed” Jane Doe on a number of occasions, publicly posting her

address, phone number, and electronic accounts, and encouraged others to harass the victim.

SINGH publicly posted personally identifying information of Jane Doe’s family members. SINGH

has also sent harassing messages and posted messages attacking an ex-boyfriend of Jane Doe, who,

based on SINGH’s messages, SINGH apparently views as a romantic rival. SINGH has “swatted”

Jane Doe, causing a police response to her Baltimore County residence in response to a bomb

threat email. SINGH has solicited others online to rape, murder, and decapitate Jane Doe in

exchange for Bitcoin. SINGH’s course of conduct has caused Jane Doe substantial emotional

distress and fear for her life and safety.




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       39.    Between in or about June 3 and 20, 2020, the Twitter account                       was

used to send several tweets, including posting an image of a man’s body with Jane Doe’s face

superimposed on it. The account posted several messages denigrating Jane Doe.

       40.    Jane Doe provided law enforcement officers a screenshot of the TikTok account

                which displayed a video showing a photo of Jane Doe’s face with the caption

“[Jane Doe] Is A Female Simp!!”2 On July 19, 2020, Jane Doe received a message on TikTok from




2
  The term “simp” has been used in recent times, commonly on social media, in a demeaning
manner, to describe a person—usually a heterosexual male—who devotes attention to a person
(usually of romantic interest) but receives nothing in return.

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                 The message included an image of Jane Doe and a caption stating Jane Doe was

obsessed with the sender and claims Jane Doe was following him on the subway.

       41.     On June 21, 2020, the Twitter account                   was used to post a TikTok

video, posted by the TikTok user                  The TikTok video includes images of Jane Doe,

including images of a body apparently being tortured with Jane Doe’s face superimposed on it.

       42.     The Twitter account                 was also used to send harassing messages about

Jane Doe. The account’s display name is “[JANE DOE] IS OBSESSED].” The account’s publicly

visible tweets and replies include many of the same images and racial slurs posted by the harassing

Instagram accounts. These include a June 29, 2020, post of an image of Jane Doe and her mother’s

faces with the caption “spic facial feature moodboard.”

       43.     SINGH’s known Twitter account,                          was used to post images of

Jane Doe and message the victim as well. Jane Doe provided an image of the message (without an

available datestamp), stating “this bitch [Jane Doe’s social media handles] is legit OBSESSED

with me and has been since 2014, she keeps texting me paragraphs and literally FOLLOWED me

on the subway multiple times. it’s so pathetic and weird, female simps do exist. lmfao.” Images of

this tweet, and the number of impressions it received, were also sent to Jane Doe’s Instagram

account by the Instagram accounts used to harass her.

       44.     On July 13, 2020, Jane Doe petitioned for and obtained an interim peace order with

the District Court of Maryland for Baltimore County, seeking protection from stalking by SINGH.

On July 13, 2020, Jane Doe also filed an application for a statement of charges with the District

Court of Maryland for Baltimore County. On July 24, 2020, the District Court of Maryland for

Baltimore County entered a temporary peace order against SINGH. Law enforcement officers were




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unable to locate SINGH to serve him with court documents, and he did not appear at scheduled

temporary or final peace order hearings.

                                    July 20, 2020, Swatting

         45.   On July 19, 2020, less than a week after Jane Doe petitioned for a peace order

against SINGH, Jane Doe received an Instagram follow request from the account

                    The account                       included pictures of Jane Doe’s house, her

ex-boyfriend’s house, and information doxing Jane Doe. The account included a message stating

“[Jane Doe] throwing a Party At [Jane Doe’s Baltimore County Residence Address] tomorrow

guys.”

         46.   According to information provided by Instagram, the account

was created on July 19, 2020, with a registered email address of

         47.   According     to    information     provided        by   Google,    the      account

                                  was created on May 7, 2016 and has a recovery email of

                           and a contact phone number of                    , known to belong to

SINGH.

         48.   On the evening of July 19, 2020, Jane Doe received notice by email that her

Snapchat account had been accessed by the user of an iPhone 11. According to information

provided by Snapchat, between 7:38 p.m. July 19, 2020, and 12:21 a.m. July 20, 2020, Jane Doe’s

Snapchat account was accessed by IP addresses assigned to AT&T Wireless. According to public

databases, each of these IP addresses was located in the New York, New York, area. At the time,

Jane Doe was located in Maryland. Jane Doe then received notice from Snapchat that the email

address for her account had been changed to




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       49.     According to information provided by Google,                                       was

created on June 13, 2020, with a recovery SMS number of                           SINGH’s AT&T

Wireless number.

       50.     On July 20, 2020, at approximately 6:28 a.m., a Baltimore County employee

received an email from the address                                  The email read: “PLEASE

INVESTIGATE [JANE DOE’S BALTIMORE COUNTY ADDRESS] POSSIBLE BOMB SEND

OFFICERS ASAP!!!!DO NOT HAVE ACCESS TO PHONE THIS IS THE ONLY POLICE

EMAIL I CAN FIND!!!” At approximately 7:00 a.m., Baltimore County Police responded to Jane

Doe’s residence.

       51.     Upon receiving the call for service, Baltimore County police units were dispatched

and staged at a nearby area. Multiple police resources including Bomb Squad, and K9 units were

placed on stand-by during this incident. Officers determined there was no real threat or hazards at

the location and it was determined to be a “swatting” incident.

       52.     Jane Doe’s father advised responding officers that he and his wife were expecting

someone to arrive to their house in reference to the “party” that was posted on Instagram. Jane

Doe’s father stated that neither he, his wife, nor Jane Doe have ever met SINGH. Jane Doe further

advised she was in contact with SINGH’s mother, in an effort to stop the harassment. Jane Doe

believed SINGH was living in New York, but only had a Texas address for him.

       53.     Baltimore County police contacted the Temple Police Department in Texas and

requested an officer to respond to SINGH’s known Texas address. Temple officers made contact

with SINGH’s parents, who stated that SINGH was attending college in New York, however, he

was currently not enrolled in school due to the COVID-19 pandemic. SINGH’s parents believe

their son is homeless and expressed that they were very worried about him.




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         54.      The day after the swatting, July 21, 2020, at approximately 7:40 a.m. hours, Jane

Doe received a text message from                              stating “you’re getting swatted” and “ur dads

SSN [XXX-XX-XXXX].”3 The messages also included images from Jane Doe’s private Snapchat

account.

         55.      The phone number                                is owned by TextNow. Beginning at

approximately 7:39 a.m. on July 21, 2020, the number was assigned to a user with the registered

email address                                        . The IP address used to register the account was an

AT&T Wireless address that, according to open source databases, was located in New York.

         56.      According to information provided by Google, the

account has an account recovery SMS number of                                        SINGH’s AT&T Wireless

number.

                                             OnUniverse Website

         57.      At approximately 12:00 pm, on July 25, 2020, Jane Doe received an Instagram

direct message from                        The message provided a link to a website at the domain

onuniverse.com, a platform for designing websites using mobile devices. The site included images

of Jane Doe, including personal images, and the “dox” or personally identifiable information about

Jane Doe and her family. The site also included links to image files hosted on the image hosting

site Imgur.

         58.      According to information provided by Imgur, the account used to post the images

of Jane Doe, Account ID                    was created on May 5, 2018 with the username

and the contact email address


3
  In response to a subpoena seeking subscriber records (and not the content of any communications), TextNow
produced copies of the contents of text messages sent by the user. The government is not relying on these records, and
is seeking a search warrant out of an abundance of caution. The contents of the messages cited herein were obtained
from Jane Doe.


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enforcement in arresting SINGH, who is a “person to be arrested” within the meaning of Federal

Rule of Criminal Procedure 41(c)(4).

        65.    In my training and experience, I have learned that AT&T is a company that provides

cellular telephone access to the general public. I also know that providers of cellular telephone

service have technical capabilities that allow them to collect and generate information about the

locations of the cellular telephones to which they provide service, including cell-site data, also

known as “tower/face information” or “cell tower/sector records.” Cell-site data identifies the “cell

towers” (i.e., antenna towers covering specific geographic areas) that received a radio signal from

the cellular telephone and, in some cases, the “sector” (i.e., faces of the towers) to which the

telephone connected. These towers are often a half-mile or more apart, even in urban areas, and

can be 10 or more miles apart in rural areas. Furthermore, the tower closest to a wireless device

does not necessarily serve every call made to or from that device. Accordingly, cell-site data

provides an approximate location of the cellular telephone but is typically less precise than other

types of location information, such as E-911 Phase II data or Global Positioning Device (“GPS”)

data.

        66.    Based on my training and experience, I know that AT&T can collect cell-site data

about the target phone. I also know that wireless providers such as AT&T typically collect and

retain cell-site data pertaining to cellular phones to which they provide service in their normal

course of business in order to use this information for various business-related purposes.

        67.    Based on my training and experience, I know that AT&T also collects per-call

measurement data, which AT&T also refers to as the “Network Event Location System” (NELOS).

NELOS data estimates the approximate distance of the cellular device from a cellular tower based




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as well as evidence of the aforementioned federal crimes, namely the location of the TARGET

PHONE.

       74.     Based on the foregoing, I request that the Court issue the proposed search warrant,

pursuant to 18 U.S.C. § 2703(c) and Federal Rule of Criminal Procedure 41.

       75.     I further request that the Court direct AT&T Corporation to disclose to the

government any information described in Section I of Attachment B7 that is within its possession,

custody, or control.

       76.     I further request, pursuant to 18 U.S.C. § 3103a(b) and Federal Rule of Criminal

Procedure 41(f)(3), that the Court authorize the officer executing the warrant to delay notice until

30 days after the collection authorized by the warrant has been completed. There is reasonable

cause to believe that providing immediate notification of the warrant may have an adverse result,

as defined in 18 U.S.C. § 2705. Providing immediate notice to the subscriber or user of the Target

Cell Phone would seriously jeopardize the ongoing investigation, as such a disclosure would give

that person an opportunity to destroy evidence, change patterns of behavior, notify confederates,

and flee from prosecution. See 18 U.S.C. § 3103a(b)(1). As further specified in Attachment B,

which is incorporated into the warrant, the proposed search warrant does not authorize the seizure

of any tangible property. See 18 U.S.C. § 3103a(b)(2). Moreover, to the extent that the warrant

authorizes the seizure of any wire or electronic communication (as defined in 18 U.S.C. § 2510)

or any stored wire or electronic information, there is reasonable necessity for the seizure for the

reasons set forth above. See 18 U.S.C. § 3103a(b)(2).




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         77.   Because the warrants will be served on the providers of the TARGET

ACCOUNTS, who will then compile the requested records at a time convenient to them,

reasonable cause exists to permit the execution of the requested warrants at any time in the day or

night.

                                                             ________________________
                                                            __________________________
                                                             pecial Agen
                                                            Special    nt W
                                                                    Agent   illiam B Jones
                                                                          William    Jon
                                                            Homeland Security Investigations



Affidavit submitted by email and attested to me as true and accurate by telephone consistent with

Fed. R. Crim. P. 4.1, 4(d) and 41(d)(3) this ______
                                              _ ___ day of December, 2020.
                                              __




                                                     Honorable Thomas M. DiGirolamo
                                                     United States Magistrate Judge




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